Case 1:21-cr-00046-RDM Document 33-1 Filed 05/14/21 Page 1 of 12




            EXHIBIT 1
Case 1:21-cr-00046-RDM Document 33-1 Filed 05/14/21 Page 2 of 12
Case 1:21-cr-00046-RDM Document 33-1 Filed 05/14/21 Page 3 of 12
            Case 1:21-cr-00046-RDM Document 33-1 Filed 05/14/21 Page 4 of 12




On 04/01/2021, at approximately 2pm, CWOs M             and Hannah Posey met MONTGOMERY at
                                                                        .        ,         and
MONTGOMERY were present.

BACKGROUND: Mandatory checks are conducted for various game species, including mountain lions.
Within five days of harvest, hunters must personally present their lion to a CPW office or officer for an
inspection and seal. CPW personnel inspects the license, collects harvest information from the hunter, and
collects biological data from the lion hide and skull. This includes collecting DNA samples from the hide
and extraction and collection of one of the lion’s premolar teeth. This tooth is then used to analyze the age
of the lion. A thin metal seal, with a unique numeric identifier, is then placed on the mountain lion hide and
must remain attached until the hide is tanned. Information from the hunter and the carcass of the lion is
collected and submitted on either an electronic or paper Mandatory Check form.

During the mandatory check,                 stated that he was with MONTGOMERY on 03/31/2021, when
MONTGOMERY killed the lion. Both                       and MONTGOMERY stated that MONTGOMERY shot
the lion at least twice with a .357 pistol. CWOs M          and P     observed at least two entrance holes and
one exit hole consistent with that of a pistol slug. Hemorrhaging around the bullet holes in the hide indicate
the bullet wounds were not inflicted post mortem. See the pictures of the mountain lion hide and bullet
holes below:




MONTGOMERY provided the following information to CWO M                 during the Mandatory Check:
   MONTGOMERY harvested the lion on the morning of 03/31/2021, north of the Indian Creek
    Campground in Douglas County.
   The lion was harvested near the Bear Creek drainage at Lat Long of 39.38786, -105.11176.
   MONTGOMERY hunted with his own dogs, he has four of them.
   C          was with MONTGOMERY the morning he killed the lion.
   Once the lion treed, MONTGOMERY shot the lion at least twice with his .357 pistol.
   MONTGOMERY hunts with a 160 grain bullet.
   MONTGOMERY has treed approximately 20 lions this year (2020 and 2021 lion hunting season),
    mostly in Game Management Unit (GMU) 51, in Douglas County.
   This lion was the 100th lion that he has caught over the last five years but this was the first he has
    personally shot.
   MONTGOMERY suspects that the male lion weighed approximately 170lbs.
   MONTGOMERY has the meat at his house and will process it himself.



3
Case 1:21-cr-00046-RDM Document 33-1 Filed 05/14/21 Page 5 of 12
           Case 1:21-cr-00046-RDM Document 33-1 Filed 05/14/21 Page 6 of 12




Dona Ana County, in NM. The document shows that in January 1996, the defendant, MONTGOMERY,
plead to three counts of Robbery, each a third-degree felony. See Montgomery NM Court Records .pdf.
Copies of that document is below:




5
    Case 1:21-cr-00046-RDM Document 33-1 Filed 05/14/21 Page 7 of 12




6
Case 1:21-cr-00046-RDM Document 33-1 Filed 05/14/21 Page 8 of 12
    Case 1:21-cr-00046-RDM Document 33-1 Filed 05/14/21 Page 9 of 12




8
           Case 1:21-cr-00046-RDM Document 33-1 Filed 05/14/21 Page 10 of 12




On 04/01/2021, CWO M             contacted MONTGOMERY over the phone and MONTGOMERY
admitted to being a convicted felon
On 04/01/2021, at approximately 6:50pm, CWO M              contacted MONTGOMERY by phone
(              ) to inquire about his felony convictions out of NM. MONTGOMERY stated that he was
convicted of felonies but that he had been granted a plea agreement from the courts that allowed him
possession of firearms for the purposes of hunting and guiding. MONTGOMERY did not have copies of
those forms.

CWO M        told MONTGOMERY that he would need to provide her the court records showing
documentation that he can possess firearms. CWO M          gave MONTGOMERY the booking slip, case
number, and defense attorney information off the copy of the Judgement, Sentence, and Commitment to the
Department of Corrections form. MONTGOMERY stated that he would contact the courts and locate the
information.

From that phone conversation, MONTGOMERY stated the following to CWO M                :
    MONTGOMERY’s convictions occurred in 1996 when he was in college and was doing stupid
       stuff.
    He was convicted on strong arm robbery charges.
    He was knocking stores over to get travel money.
    Part of his plea agreement was that the charges did not carry firearm enhancements.
    It was written into the agreement that he could possess firearms while guiding or hunting.
    He is a professional hunting guide. That is his career.
    He does not have any copies of any of the court records.
    He would not have signed the court order if it did not allow him to possess guns.
    His lawyer was very specific that it (allowing guns) be included in the plea agreement.

CWO M         told MONTGOMERY that she would have                         , owner of
          , hold the hide in the meanwhile.

MONTGOMERY stated that he did not understand why this was popping up now. He stated that he has
had so many different hunting licenses and so many encounters with Parks and Wildlife and did not
understand why this was becoming an issue for him. CWO M            stated that she understood and that
Colorado had just recently received the information about the convictions from NM.

MONTGOMERY was going to work on obtaining the court records and then provide them to CWO
M   once he received them. They agreed to keep in communication.

CWO M      took audio recording of the phone conversation with MONTGOMERY. It was saved as
MontgomeryBApril12021WS400630.


CWO M         seizes MONTGOMERY’s mountain lion hide and skull
On 04/02/2021, CWO M          went to                     . CWO M         asked          if he
was ok with keeping the hide there temporarily as MONTGOMERY acquired his documentation.




9
Case 1:21-cr-00046-RDM Document 33-1 Filed 05/14/21 Page 11 of 12
Case 1:21-cr-00046-RDM Document 33-1 Filed 05/14/21 Page 12 of 12
